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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                 4:09CR3069
                                     )
          v.                         )
                                     )
KELVIN L. STINSON,                   )      MEMORANDUM AND ORDER
                                     )
                Defendant.           )

    IT IS ORDERED:

    1)    In accordance with the request of defendant’s counsel, defendant
          Stinson’s motion for a subpoena to secure the presence of Officer
          Steven Schellpeper at defendant’s suppression hearing, (filing no. 34),
          is withdrawn.

    2)    The government’s motion to restrict, (filing no. 39), is granted, and
          filing no. 38 shall remain filed as a restricted access document.

    DATED this 24th day of September, 2009.

                                    BY THE COURT:

                                    Richard G. Kopf
                                    United States District Judge
